            Case 1:18-cv-01743-SAG Document 98 Filed 04/15/20 Page 1 of 5



                          UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF MARYLAND
                                   (Northern Division)


 UMAR BURLEY, et al.,

                 Plaintiffs,
                                                    Civil Action No. SAG-18-1743
        v.

 BALTIMORE POLICE DEPARTMENT,
 et al.,

                 Defendants.


                 CONSENT MOTION TO AMEND SCHEDULING ORDER

       Plaintiffs Umar Burley and Brent Matthews, by their undersigned attorneys and with the

consent of Defendants, file this Motion to Amend Scheduling Order and in support state as follows:

       1.       Plaintiffs filed this lawsuit on June 13, 2018. (ECF No. 1). The operative, Second

Amended Complaint was filed on December 21, 2018. (ECF No. 23).

       2.       An initial Scheduling Order issued on September 26, 2019. (ECF No. 58). On

February 27, 2020, this Court issued an order approving the parties’ joint proposed amended

scheduling. (ECF No. 68.)

       3.       Plaintiffs have worked diligently and engaged in extensive discovery, but have been

faced with delay and other obstacles.

       4.       Specifically, Plaintiffs issued written discovery to all Defendants on December 9,

2019. While Defendant Wayne Jenkins produced written responses and documents on January 10,

as this Court is aware, Plaintiffs did not receive the majority of written responses from Defendants

Ryan Guinn, Keith Gladstone, Richard Willard, William Knoerlein, and Michael Fries, until

March 3, 2020, after Plaintiffs were forced to file a Motion to Compel and for Sanctions. (ECF
             Case 1:18-cv-01743-SAG Document 98 Filed 04/15/20 Page 2 of 5



No. 82). Likewise, Plaintiffs did not receive responsive documents from Guinn, Gladstone,

Willard, Knoerlein, or Fries until March 11, 2020, after Plaintiffs’ Motion to Compel and for

Sanctions was granted in part. (ECF No. 89). Since that time, undersigned have been working

diligently to review the thousands of documents produced.

        5.       Further, Plaintiffs served a subpoena to produce documents on the Baltimore Police

Department (“BPD”) on January 23, 2020; responsive documents were due on February 24, 2020.

Plaintiffs did not receive documents, however, until April 3, 2020, at which time the BPD produced

over 15,000 pages of documents.

        6.       Additionally, on March 24, 2020, Plaintiffs noted seven depositions: the six

Defendants and a BPD corporate designee. But, due to the global pandemic resulting in the State

of Maryland issuing a stay at home order indefinitely, in-person depositions likely cannot move

forward as scheduled.

        7.       The Bureau of Prisons, including FCI Edgefield in South Carolina where Defendant

Jenkins is currently located, has prohibited visitors at their facilities indefinitely and thus, Plaintiffs

are unable to take an in-person deposition of Jenkins in the near future. Further, undersigned was

informed by Counselor Johnson of FCI Edgefield that Jenkins is currently housed in solitary

confinement, which, according to Counselor Johnson, presents an additional obstacle in securing

Jenkins’ presence for a deposition.

        8.       Based on the foregoing and the liberal standard for leave allowed for under Rule

16(b) of the Federal Rules of Civil Procedure, the parties request that the deadlines set forth in the

Amended Scheduling Order be extended by approximately 90 days, a reasonable request in light

of Standing Order 2020-07, which in part extended all filing deadlines by 84 days.




                                                    2
            Case 1:18-cv-01743-SAG Document 98 Filed 04/15/20 Page 3 of 5



       9.       The parties request that the Court extend the deadlines in the Amended Scheduling

Order, and add a new deadline for Responses to Dispositive Motions, as follows:

 Proposed Deadline       Filing/Occurrence                                Current Deadline

 September 10, 2020      Plaintiffs’ Rule 26(a)(2) Disclosures            June 12, 2020

 October 8, 2020         Defendants’ Rule 26(a)(2) Disclosures            July 10, 2020

 October 29, 2020        Plaintiffs’ rebuttal Rule 26(a)(2) Disclosures   July 31, 2020

 November 5, 2020        Rule 26(e)(2) Supplementation                    August 7, 2020

 August 20, 2020         Fact Discovery Deadline; Status Report           May 22, 2020

 August 27, 2020         Requests for Admission                           May 29, 2020

 November 26, 2020       Close of Expert Discovery                        August 28, 2020

 December 18, 2020       Dispositive Pretrial Motions                     September 25, 2020

 January 15, 2021        Responses to Dispositive Pretrial Motions        --


       10.      Counsel for Defendants have consented to the filing of this Motion, the relief

requested herein, and the proposed amended deadlines.

       11.      The requested amendment to the Scheduling Order is sought in good faith and will

not cause undue delay or prejudice to any of the parties.

Dated: April 15, 2020                           Respectfully submitted,


                                                        /s/
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                                                   3
Case 1:18-cv-01743-SAG Document 98 Filed 04/15/20 Page 4 of 5



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                           Attorneys for Plaintiffs Umar Hassan Burley and
                           Brent Andre Matthews




                              4
         Case 1:18-cv-01743-SAG Document 98 Filed 04/15/20 Page 5 of 5



                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 15, 2020, a copy of the foregoing motion was served

on all counsel of record via this Court’s ECF filing system.


                                                                   /s/
                                                     William N. Sinclair, Esq. (Bar No. 28833)




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